              Case 2:24-cr-00043-DC            Document 8     Filed 02/29/24     Page 1 of 4
                                                                                         FILED
 1 PHILLIP A. TALBERT                                                                   Feb 29, 2024
   United States Attorney                                                            CLERK, U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF CALIFORNIA

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                                               N
 8                               IN THE UITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11 UNITED STATES OF AMERICA,                              CASE NO. 2:24-CR-0043 KJM
12                                Plaintiff,              18 U.S.C. 1038(a)(l)(A)-False Information and
                                                          Hoax
13                          v.
14 ZIMNAKO SALAH,

15                                Defendant.
16

17

18                                                 I N D I C TME N T
19          The Grand Jury charges: T H A T
20                                                 ZIMNAKO SALAH,

21 defendant herein, on or about November 12, 2023, in Placer County, in the State and Eastern District of

22 California, did knowingly engage in conduct with the intent to convey false and misleading information,

23 under circu�stances where such information might reasonably have been believed, and where such

24 information indicated that an activity was taking and would take place that would constitute a violation
25   of Chapter 40 of Title 18 of the United States Code, to wit: SALAH knowingly affixed a backpack to a
26 toilet in the restroom of a church in Roseville, California with the intent to convey the
27 Ill
28 Ill


      INDICTMENT                                          1
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                       29th
          February                24

                              /s/ Jonathan Anderson



                                 No process necessary


                                                  U.S. Magistrate Judge
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                        United States v. Zimnako SALAH
                            Penalties for Indictment
Defendants
ZIMNAKO SALAH         2:24-CR-0043 KJM


COUNT 1:         ZIMNAKO SALAH

VIOLATION:       18 U.S.C. § 1038 – False Information and Hoaxes

PENALTIES:       Maximum five-year term of imprisonment
                 Maximum $250,000 fine or both fine and imprisonment
                 Maximum three-year term of supervised release


SPECIAL ASSESSMENT: $100 (mandatory)
